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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE WESTERN DISTRICT OF TEXAS
                                    WACO DIVISION



 INFOGATION CORPORATION,

         Plaintiff,
                                                       Civil Action No.: 6:20-cv-0366
 v.

 GOOGLE LLC,                                           Jury Trial Demanded

         Defendant.


                        COMPLAINT FOR PATENT INFRINGEMENT

        Plaintiff InfoGation Corporation ("Plaintiff" or "InfoGation"), for its Complaint with Jury

Demand for patent infringement against Defendant Google LLC ("Defendant" or "Google"),

alleges, based on its own knowledge as to itself and its own actions and based on information and

belief as to all other matters, as follows:

                                              PARTIES

        1.       InfoGation is a corporation organized and existing under the laws of Delaware, with

its principal place of business at 12250 El Camino Real, Suite 116, San Diego, California 92130.

        2.       Google LLC is a corporation organized and existing under the laws of Delaware,

with its principal place of business located at 1600 Amphitheatre Parkway, Mountain View,

California 94043.

                                  JURISDICTION AND VENUE

        3.       This is an action for patent infringement under the Patent Laws of the United States,

35 U.S.C. § 101, et seq.

        4.       This Court has subject matter jurisdiction of this action pursuant to 28 U.S.C.

§§ 1331 and 1338(a).


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       5.       Venue is proper in this Court pursuant to 28 U.S.C. §§ 1391 and 1400(b). Google

is registered to do business in Texas, and upon information and belief, Google has transacted

business in the Western District of Texas and has committed acts of direct and indirect

infringement in the Western District of Texas. Google has a regular and established place of

business in the Western District of Texas located at 500 W 2nd St, Austin, Texas 78701.

       6.       This Court has personal jurisdiction over Google in this action because Google has

committed acts within the Western District of Texas giving rise to this action and has established

minimum contacts with this forum such that the exercise of jurisdiction over Google would not

offend traditional notions of fair play and substantial justice. Google has committed and continues

to commit acts of infringement in this District by, among other things, offering to sell and selling

products and/or services that infringe the asserted patent.

                                      THE PATENT-IN-SUIT

       7.       On September 18, 2001, the United States Patent and Trademark Office ("USPTO")

duly and legally issued U.S. Patent No. 6,292,743 ("the '743 Patent"), titled "Mobile Navigation

System," naming Qing Kent Pu and Hui Henry Li as inventors. A true and correct copy of the '743

Patent is attached hereto as Exhibit A.

       8.       InfoGation is the owner of all right, title, and interest in the '743 Patent.

       9.       Each claim of the '743 Patent is valid and enforceable.

                                   FACTUAL ALLEGATIONS

       10.      InfoGation is a pioneer in the development of on-board and handheld vehicle

navigation solutions. InfoGation produces vehicle-based turn-by-turn driving directions with

accurate voice guidance, real-time travel content, and communications integration solutions for

the automotive, trucking, commercial fleet and consumer industries.               In conjunction with

Microsoft and Clarion, InfoGation created the first in-car computing device, the AutoPC, which

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was powered by Microsoft's Windows CE for Automotive operating system. InfoGation also

licensed its software platform to the Hertz rental car company for Hertz Never Lost navigation

devices as well as the IntelliRoute navigation software to Rand McNally for its consumer,

recreational vehicle, and truck/fleet product lines.

         11.   The '743 Patent was developed by Dr. Qing Kent Pu, President, CEO, and Founder

of InfoGation, along with Dr. Hui Henry Li. The '743 Patent is directed to a mobile navigation

system wherein the client navigation computer wirelessly connects to a navigation server, receives

optimal route information from that navigation server that is formatted using a non-proprietary,

natural language description, reconstructs the optimal route from that non-proprietary, natural

language description using a mapping database coupled to the navigation computer, and displays

the optimal route on a display screen using that mapping database.

         12.   Certain Google products and services, including those that incorporate the

technology of the Google Maps API, infringe at least claim 21 of the '743 Patent.

         13.   The Google Maps API provides an optimal route using real-time information from

a server of a navigation system. For example, the Google Maps API DirectionService object

"communicates with the Google Maps API Directions which receives direction requests and

returns an efficient path. Travel time is the primary factor which is optimized, but other factors

such as distance, number of turns and many more may be taken into account." Directions Service

|     Maps        JavaScript       API       |         Google   Developers,      available      at

https://developers.google.com/maps/documentation/javascript/directions (retrieved on May 4,

2020).

         14.   The navigation system comprises a client (such as a mobile device) and said server

(hosted by Google) coupled to a computer network (such as a wireless network). Id.




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       15.      Using the technology of the Google Maps API requires establishing a wireless

connection between the server and the client. For example, a wireless connection is established

via the Internet or a cellular network with a client such as a mobile device.

       16.      The Google server receives start and end route designations from the client. For

example, the user of a mobile device specifies the origin and destination using the technology of

the Google Maps API, and Google receives this information at the server via the wireless

connection.

       17.      Using the technology of the Google Maps API, Google calculates at the server the

optimal route based on real-time information at the server and said start and end route designations.

For example, the Google Maps API DirectionService object "communicates with the Google Maps

API Directions which receives direction requests and returns an efficient path. Travel time is the

primary factor which is optimized, but other factors such as distance, number of turns and many

more may be taken into account." Directions Service | Maps JavaScript API | Google Developers,

available at https://developers.google.com/maps/documentation/javascript/directions (retrieved

on May 4, 2020). The technology of the Google Maps API enables users to "find the best way to

get from A to Z with comprehensive data and real-time traffic." Geo-location APIs | Google Maps

Platform | Google Cloud, available at https://cloud.google.com/maps-platform/ (retrieved on May

4, 2020).

       18.      Using the technology of the Google Maps API, Google formats at the server the

optimal route into a non-proprietary, natural language description. For example, Google explains:

                A DirectionsStep is the most atomic unit of a direction's route,
                containing a single step describing a specific, single instruction on
                the journey. E.g. "Turn left at W. 4th St." The step not only
                describes the instruction but also contains distance and duration
                information relating to how this step relates to the following step.
                For example, a step denoted as "Merge onto I-80 West" may



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               contain a duration of "37 miles" and "40 minutes," indicating that
               the next step is 37 miles/40 minutes from this step.

Directions    Service    |    Maps   JavaScript   API    |   Google    Developers,     available    at

https://developers.google.com/maps/documentation/javascript/directions (retrieved on May 4,

2020). Thus, the route is formatted into a non-proprietary, natural language description (e.g.,

"Turn left at W. 4th St.").

       19.       Using the technology of the Google Maps API, Google downloads from the server

said non-proprietary, natural language description to the client (e.g., a mobile device) so that the

client can reconstruct the optimal route using a local mapping database and display said optimal

route on a display system coupled to the client. For example, the mobile device using the

technology of the Google Maps API constructs a visual map using a local mapping database and

displays the route using the map on the mobile device screen.

       20.     Google has had notice of the '743 Patent since no later than October 7, 2016, the

date on which Google filed a Complaint for Declaratory Judgment of Non-Infringement of the '743

Patent in the United States District Court for the Northern District of California (Case No. 3:16-

cv-05821-VC). That case was dismissed for lack of subject matter jurisdiction.

       21.     Further, Google has been aware that the '743 Patent is not invalid since no later than

September 11, 2017. On that date, the USPTO Patent Trial and Appeal Board issued a decision

declining to institute an inter partes review of the '743 Patent, rejecting a petition filed by Google

and other petitioners.

       22.     Certain terms in Claim 15 of the '743 Patent were construed in Case No. 16-cv-

01901-H-JLB, InfoGation Corp. v. ZTE Corporation, et al. and Case No. 16-cv-01902-HJLB,

InfoGation Corp. v. HTC Corporation, et. al., both filed in the United States District Court for the

Southern District of California ("the California Actions"). Specifically, the court in the California



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Actions construed the terms "navigation server," "non-proprietary," "natural language," "mapping

database coupled to said navigation computer for reconstructing said optimal route from said non-

proprietary, natural language description," and "optimal routes/optimal route," all of which appear

in Claim 15. Certain of those terms appear in Claim 1 as well.

       23.     The California Actions were resolved without a final judgment on the merits and

were never appealed to the Federal Circuit. The court's constructions in the California Actions are

therefore not binding on this Court, nor do they have any preclusion or other res judicata effects

as to any party to this action. InfoGation anticipates that the Court will construe the claims in this

action de novo, and InfoGation reserves all rights to seek constructions that are different from the

constructions entered in the California Actions, as well as constructions of terms that were not

construed in the California Actions,

                            GOOGLE'S INFRINGING ACTIVITY

       24.     Google infringes at least Claim 1 of the '743 Patent by making, using, selling, and/or

offering to sell the Google Maps API.

       25.     The Google Maps API provides an optimal route using real-time information for a

navigation system. The Google Maps API directions service returns "an efficient path" in which

"[t]ravel time is the primary factor which is optimized, but other factors such as distance, number

of    turns     and     many      more      may       be    taken      into    account."          See

https://developers.google.com/maps/documentation/javascript/directions.

       26.     The Google Maps API provides the optimal route for a navigation system that

comprises a client, such as a user's personal electronic device, and a server, such as "an external

server" to which the Google Maps API makes calls. See id. The server is coupled to a computer

network such as the Internet, a wireless local area network, or a cellular network such as a 4G or

5G network.

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       27.     Use of the Google Maps API requires establishing a wireless connection between

the client and the server, as the user's personal electronic device communicates with the external

server wirelessly.

       28.     Use of the Google Maps API requires transmitting start and end route designations

from the client to the server. For example, the user's personal electronic device communicates the

device's present location (start route designation) and destination (end route designation) to the

external server.

       29.     The external server accesses real-time information. For example, the Google Maps

API enables helps "users find the best way to get from A to Z with comprehensive data and real-

time traffic." See https://cloud.google.com/maps-platform/.

       30.     The external server calculates the optimal route based on the real-time information

and the start and end route designations. For example, the external server calculates the optimal

route based on real-time traffic conditions and the present location and destination.

       31.     Use of the Google Maps API requires formatting the optimal route into a non-

proprietary, natural language description. The description prepared by use of the Google Maps

API is non-proprietary at least because the description is formatted using standardized messages

based on a published API. Further, the description is natural language at least because the

description comprises natural language phrases such as "Turn left at W. 4th St."              See

https://developers.google.com/maps/documentation/javascript/directions.        To the extent these

elements are not literally present, they are present under the doctrine of equivalents.

       32.     Use of the Google Maps API requires downloading the non-proprietary, natural

language description to the client, i.e. by transmitting the description to the user's personal

electronic device.




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          33.   Use of the Google Maps API requires reconstructing the optimal route by the client

using a local mapping database and displaying the optimal route on a display system coupled to

the client. For example, the user's personal electronic device reconstructs the optimal route using

locally-stored mapping information for display on the device using a display system such as a

screen.

          34.   Thus, use of the Google Maps API infringes at least Claim 1 of the '743 Patent.

                                  FIRST CLAIM FOR RELIEF
                           (Infringement of U.S. Patent No. 6,292,743)

          35.   InfoGation incorporates the foregoing paragraphs as if fully set forth herein.

          36.   Google has made, used, sold, offered for sale, and/or imported one or more products

or services incorporating the technology of the Google Maps API, and thereby directly infringed,

literally and/or under the doctrine of equivalents, one or more claims of the '743 Patent. Google's

infringement is ongoing.

          37.   Google has indirectly infringed the '743 Patent by inducing others to directly

infringe the '743 Patent. For example, Google has induced developers and end-users to directly

infringe (literally and/or under the doctrine of equivalents) the '743 Patents by making, using,

selling, offering for sale, and/or importing one or more products or services incorporating the

technology of the Google Maps API. Google has taken active steps, directly and/or through

contractual relationships with others, with the specific intent to cause them to make, use, sell, offer

for sale, and/or import products or services incorporating the patented technology in a manner that

infringes one or more claims of the '743 Patent. Such steps by Google have included, among other

things, advising or directing customers and end-users to use the Google Maps API in an infringing

manner; advertising and promoting the use of the technology of the Google Maps API in an

infringing manner; and/or distributing instructions that guide users to use the Google Maps API in



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an infringing manner. Google is performing these steps, which constitute induced infringement

with the knowledge of the '743 Patent and with the knowledge that the induced acts constitute

infringement. Google is aware that the normal and customary use of the Google Maps API would

infringe the '743 Patent. Google's inducement is ongoing.

       38.     Google has also indirectly infringed by contributing to the infringement of the '743

Patent. Google has contributed to the direct infringement of the '743 Patent by developers and

end-users of products or services that incorporate the technology of the Google Maps API. The

Google Maps API has features that are specially designed to be used in an infringing way and that

have no substantial uses other than ones that infringe the '743 Patent. Google's contributory

infringement is ongoing.

       39.     Google has had knowledge of the '743 Patent since no later than October 7, 2016.

       40.     Google's actions are at least objectively reckless as to the risk of infringing a valid

patent and this objective risk was either known or should have been known by Google.

       41.     Google's direct and indirect infringement of the '743 Patent is, has been, and

continues to be willful, intentional, deliberate, and/or in conscious disregard of InfoGation's rights

under the '743 Patent.

       42.     InfoGation has been damaged as a result of the infringing conduct by Google

alleged above. Thus, Google is liable to InfoGation in an amount that adequately compensates it

for such infringements, which, by law, cannot be less than a reasonable royalty, together with

interest and costs as fixed by this Court under 35 U.S.C. § 284.

       43.     InfoGation will continue to suffer damages and irreparable harm unless Google is

restrained and enjoined by this Court, pursuant to 35 U.S.C. § 283, from further infringement of

the '743 Patent.




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                                      PRAYER FOR RELIEF

       InfoGation requests that the Court find in its favor and against Google, and that the Court

grant InfoGation the following relief:

       A.        Judgment that one or more claims of the '743 Patent has been infringed, either

literally and/or under the doctrine of equivalents, by Google;

       B.        A permanent injunction enjoining Google and its officers, directors, agents,

servants, affiliates, employees, divisions, branches, subsidiaries, parents, and all others acting in

concert therewith from infringement of the '743 Patent; or, in the alternative, an award of a

reasonable ongoing royalty for future infringement of the '743 Patent by such entities;

       C.        Judgment that Google account for and pay to InfoGation all damages to and costs

incurred by InfoGation because of Google's infringing activities and other conduct complained of

herein, including an award of all increased damages to which InfoGation is entitled under 35

U.S.C. § 284;

       D.        That this Court declare this an exceptional case and award InfoGation its attorneys'

fees and costs in accordance with 35 U.S.C. § 285;

       E.        Pre-judgment and post-judgment interest on the damages caused to it by reason of

Google's infringing activities and other conduct complained of herein; and

       F.        Such other and further relief as the Court may deem just and proper under the

circumstances.




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                                DEMAND FOR JURY TRIAL

       InfoGation hereby requests a trial by jury pursuant to Rule 38 of the Federal Rules of

Civil Procedure.

Dated: May 5, 2020                               Respectfully submitted,

                                                 By: /s/ Michael C. Smith
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